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                      UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: ALEXANDER SEAWRIGHT                                       CASE NO. 19-00217-NPO
TRANSPORTATION, LLC.

DEBTOR                                                                       CHAPTER 11

 FIRST LIGHT PROGRAM MANAGERS’S MOTION TO LIFT THE AUTOMATIC
              STAY NUNC PRO TUNC TO FEBRUARY 15, 2019


       First Light Program Managers, Inc. (“First Light”) submits this Motion To Lift The

Automatic Stay Nunc Pro Tunc To February 15, 2019 in connection with First Light Program

Managers’s Supplemental Response to Debtor’s Emergency Motion for Imposition of the

Automatic Stay, For Damages, Sanctions and For Contempt (the “Supplemental Response”)

in support of First Light Program Managers, Inc.’s Preliminary Response and Objection to

Debtor’s Emergency Motion for Imposition of the Automatic Stay and Other Relief (the

“Preliminary Response”)(Dkt. # 98) in response to the Emergency Motion for Imposition of

the Automatic Stay, For Damages, Sanctions and For Contempt (the “Motion,” Dkt. # 76) filed

by Alexander Seawright Transportation, LLC (the “Debtor”), on February 22, 2019. In

support, First Light shows as follows:

       1.     The Motion alleges that First Light violated the automatic stay as set forth

in the Motion.

       2.     In the Supplemental Response and the Preliminary Response, First Light

denies that it violated the automatic stay.

       3.     However, out of an abundance of caution, should the Court determine that

the automatic stay was in effect as to the Policy Documents in issue and the Notice of


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Cancellation in issue, First Light avers and submits that cause exists for lifting and

terminating the automatic stay nunc pro tunc to February 15, 2019, the date the Notice of

Cancellation was issued due to, among other possible things, the Debtor’s bad faith in its

procurement of the Policy documents and the unmistakable misrepresentation by the

Debtor of it not having filed for or contemplated bankruptcy prior to procuring the Policy

Documents.

       WHEREFORE, First Light moves the Court to enter an Order lifting, terminating,

and/or annulling the automatic stay nunc pro tunc to February 15, 2019 with respect to

the Policy Documents and the Notice of Cancellation in issue. First Light further prays

for general relief.

       THIS the 1st day of March, 2019.




                                  Respectfully submitted,

                                  FIRST LIGHT PROGRAM MANAGERS, INC.

                                  By:      /s/ William H. Leech
                                          William H. Leech, MSB No. 1175
                                          Sarah Beth Wilson, MSB No. 103650
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                              CERTIFICATE OF SERVICE

      I do hereby certify that I have this day served via electronic mail a true and correct
copy of the above and foregoing to:

              Craig M. Geno
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              Attorney for the Debtor

              Ronald H. McAlpin, Esq.
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              Attorney for the United States Trustee

       THIS the 1st day of March, 2019.
                                                  /s/ William H. Leech
                                                  Of Counsel




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